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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )     Case No. 21-cr-00083-TNM
                                 )
BRANDON FELLOWS,                 )
                                 )
                                 )
                Defendant        )
                                 )




      DEFENDANT BRANDON FELLOWS’S MOTION FOR MISC. RELIEF
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          Last hearing, this court did what it often does to my requests, denied them, or denied

them by refusing to acknowledge my requests or respond to them, quite clever...

          However, I'm hoping as I usually do that for once, this court will do what is in the interest

of justice and stop seemingly working in collaboration with the criminals in the government who

are ignoring my due process rights, constitutional rights, their code of ethics, and my discovery

rights.

          Please give an official order or denial for what I motioned for and requested at the last

hearing: (I'm making a separate request for the other things I mentioned, Arguments for why this

court should do this will also be supplied with or shortly after this request.)

          Please deny or order the government to release to the court and myself:

1) The official tow records and location of where my bus was found on January 16th 2021. Any

and all material relating to the bus being found.

2) Any and all information regarding my arrest location, how I was arrested, and when I was

arrested 1/16/21

3) The witness statements from hotel employees and FBI agents on where my phone was located,

how it was found, and when it was found on 1/16/21

          Reasons why you should order the government to produce these things I've listed and

requested:

          1) They have them, it's easy for them to produce, in total it probably is no more than 6-7

pages.

          2) I've proven I have merit for the things I've brought up both that you partially looked

into (grievance process and abuse at the DC jail (as proven by investigations, marshals, DOC,

my exhibits, and videos I released to the media)), and fully ignored or denied by you (no
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religious services (Congress ordered relief), no visitations (Congress ordered relief), no global

discovery (Congress has committed to share all videos with the public soon), haircuts and

shaving being denied (Marshalls ordered jails to give us these rights back), solitary confinement/

24/7 lockdown (Marshalls said this was not proper and ordered jail to stop), etc..).

        3) Even though you rarely offer me the opportunity to show that the government has lied,

or ignore it when I do prove that they lied, the government has still been shown to lie both in

your courtroom and in the motions they've filed. Examples include "He wouldn't negotiate with

us over the protective order", "He didn't read or understand the contract", "The grievance process

isn't broken", "The jail is offering him paper and pens when he needs it", "He has his discovery/

was given his discovery", "there is no black mold in the cells" etc..

        4) I've not been shown to have lied to this court, not even once...

        5) "It's a bedrock principle that a criminal defendant must be given every meaningful

opportunity to present a complete defense."

        I was not represented by effective counsel, I wish to present this and also to show how I

was prejudiced at this hearing.

        6) I had ineffective assistance of counsel at this hearing, courts should conduct an inquiry

or evidentiary hearing the moment it is brought up. Seeing these things is the quickest and easiest

way to show you that I had ineffective assistance of counsel. The record should be corrected for

the sake of truth and justice.

        7) The rights of defendants that are created by the 4th, 5th, and 6th amendments are

aimed at protecting individuals from government institutions and excesses prior to the start of

formal criminal proceedings as well as to prevent the presentation of evidence that is obtained

improperly.
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        I've been talking about how the government has lied many times, through doing so they

have obtained evidence improperly and also punished me, an innocent man.

        8) It is better for ten guilty people to be set free than for one innocent man to be unjustly

imprisoned. Therefore, one focus of the defense should be to identify illegal conduct in the

seizure of evidence that would support suppression of critical evidence.

        This is what our laws are based on, I am innocent and have been trying to begin the

process to show this for a long time and this court just ignores me and refuses to listen or help.

The illegal conduct in this hearing is easily identifiable, I spelled it out for the court. It is easy to

understand. Now I want to simply present it to this court in an effort to suppress some things,

seek sanctions, and prove a record. The record I'm trying to prove is that the government lies to

create a narrative that benefits their ultimate goals, to increase the chance that they win and to

punish me until then and beyond. They don't want the truth, they want the win. Stop trying to

protect the government, stop helping cover up their misconduct and lies.

        9) The responsibility of the prosecutor is to seek the conviction of the guilty while at the

same time protecting the interests of the innocent. The prosecutor is responsible as a

representative of the country to seek justice. The prosecutor cannot advocate any fact or position

known to be inconsistent with the truth. The duty of the prosecutor is to seek justice, not merely

to convict.

        Here, the prosecutor has done just that. When a prosecutor comes to you and says "This

person committed this crime, "here's the evidence", do you do what you do with me? Do you tell

them to move on? Do you ignore them? What kind of judge are you? The record indicates you're

biased, perhaps it's time you at least pretend not to be?
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        10) The Supreme Court has written "After a conviction, the prosecutor is also bound by

the ethics of his office to inform the appropriate authority of information or material that casts

doubt upon the correctness of the conviction.

        If they felt this way, why wouldn't they also feel the same about being "convicted" of

being a flight risk? Yes, I know, technically I was only found to be a flight risk, but just as

someone is found to be guilty, I was found to be a flight risk. Just like how a convicted person

suffers punishments such as home confinement or imprisonment because of this finding, I also

suffered home confinement and imprisonment because of this initial "finding" of being a flight

risk.

        Seeing that these two situations have similarities, I think how the government lied and

fabricated testimony in order to give the courts an initial finding of me being a flight risk is

similar to how sometimes the government is found to give false testimony that gets someone

convicted. I also think that it's similar to when the government is found to have conducted an

illegal search that leads to a conviction. In both of these situations, both the false testimony and

the evidence from the illegal search is thrown out and if that is the only thing that was

convincing to convict the person, they are set free. Congress felt that for the sake of true justice

that whatever was found illegally shouldn't be introduced or held against that person. They knew

this would let some people get away with their crimes, but they knew that allowing the

government to get away with lying and breaking the law was more dangerous as a whole for

society. Keep in mind, this applies to murders as well, so why wouldn't they feel the same for a

"trespasser"? The same reasons that Congress implemented these rules should be applied here.

        Congress didn't make the Bail Reform Act just for fun, they made it for both the

government and the courts to respect and follow. I don't think Congress would approve of the
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government, or your court allowing these lies to remain on the record, let alone not even

allowing us to look into it. Deep down, despite your distaste for me, even you know it's wrong to

leave these lies unaccounted for.

       11) It is unprofessional conduct for a lawyer to intentionally misrepresent matters of fact

or law to the court.

       The court should therefore be very interested in if this occurred, which it did.

       12) Your job is to advance the truth seeking process and you have a statutory obligation

to be fair and impartial.

       13) In representation of a client, a lawyer shall not assert a position, conduct a defense, or

take other action on behalf of his client when she knows, or when it's obvious, that such action

would serve merely to harass or maliciously injure another.

       The prosecutor at this hearing knew that they were lying and creating a story, and yet

they asserted their lies, and never corrected them even as I've asked them to many times and

despite that their code of ethics requires them to. They knew that sharing these lies would

increase the chance of putting me in jail, admitting to a guilty plea, embarrass me, and or give

me extreme conditions of release that would serve and has served to ultimately harass and injure

me in many ways.

       14) The lawyer should also not knowingly advance a claim or defense that is unwarranted

under existing law.

       The government knew the requirements of the bail Reform Act, they chose to ignore it

and try to make me fit it anyways. They lied to make me a flight risk.

       15) The lawyer should not knowingly use perjured testimony or false evidence.

       They did this in this hearing and many other hearings.
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        16) The lawyer shall not knowingly make a false statement of law or fact.

        The government has done this at various hearings, I wish to prove a record of misconduct

and I'd like to start from the very beginning.

        17) The lawyer shall not participate in the creation or preservation of evidence when he

or she knows it's obvious that the evidence is false.

        The prosecutors made up this false story while they had the evidence and the actual story

for all three of these situations. They have no excuse for why they have not fixed this as I have

been bringing this up publicly since September 2021.

        18) Hamiton V. Alabama, 368 U.S. 52, 53-55, 82 S. Ct. 157, 7 L. Ed. 2d 114 (1961)

(arraignment is a critical stage of a criminal case)

        You should stop dismissing this as if this hearing didn't matter, you should ascertain

whether the government lied.

        19) State V. Piette, 277 Conn. 42, 890, A.2d 474 (2005) (describing the importance of an

arraignment in terms of right to counsel).

        This court should be interested in whether I had ineffective assistance of counsel at this

and other hearings. It is as simple as saying the words "Motion Accepted".

        20) Kirby V. Illinois, 406 U.S. 682, 689-690, 92 S. Ct. 1877, 1882-1883, 32 L. Ed. 2d

411, 417-418 (1972) (arraignment is not a formality, but rather a judicial proceeding requiring

assistance of counsel): White V. Maryland, 373 U.S. 59, 60, 83 S. Ct. 1050, 1051, 10 L. Ed. 2d

193 (1963) ("preliminary hearing", like arraignment is a critical stage of the proceeding invoking

the right to counsel).

        21) King V. State, 270 Ga. App. 399, 606 S.E. 2d 616 (2004)(before error is found due to

lack of counsel at arraignment, there must be a showing of harm to defendant.)
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       This is how I show there was harm! How can I show that there was harm when you won't

even allow me to show it? Simply order the documents to be produced and then you will have all

of the evidence that they lied knowingly, then you will at the least, without even having to ask

any questions find that by a preponderance of the evidence that I did not have effective

assistance of counsel. Though for most objective people, they would find that I didn't have

effective assistance of counsel beyond a reasonable doubt. However, I take your account of your

record or ruling and refusing to rule on many matter in this case/ your bias, so with that taken

into account, I think you would find this by a preponderance of the evidence.

       22) The defense attorney should always speak with the client prior to the arraignment.

Counsel must learn the clients individual background and the clients version of the facts if

counsel is to make an effective bail application.

       With the transcript also in hand, you will see it is clear that my counsel did not speak to

me on these important matters. When I heard the lies and asked her to correct them her plan was

to leave it on the record in order to "not upset the government by pointing these lies out... "It

could mess up your future plea deal". Not only did my attorney know the facts that could help

me avoid conditions of release and a detention hearing, but she could've pointed out just how the

government was lying. She could've started us off with them looking as they are, a bunch of code

of ethics and law breaking malicious liars. Instead, she chose to allow me to look like a stupid

fool who was a flight risk. This hurt me then and has hurt me even now in many ways. Restore

my faith in the criminal justice system, please do something about this.

       23) Any attempt to mislead the court would certainly be grounds, in and of itself, for the

denial of bail, not to mention establishing the accused as a dishonest person before the court and

the prosecutor, which can only come back to haunt the defendant at the time of trial.
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       If this happens to people fearful of losing their own liberty, why shouldn't the same apply

to those who lie in order to take away another persons liberty? Seems like a person who would

do the latter would be way worse of a person character wise and way less trustworthy. How

much more so then a person that admits the truth knowing it will hurt him as I have done in this

case multiple times? The government mislead the court showing them to not only be dishonest,

but malicious, it should also be allowed to come back to haunt the government at the time of

trial. To not apply the same standard would be unfair and a further imbalance on the scales of

justice. Justice should be blind, it should go both ways.

       24) Release from custody during the pendency of charges is often seen as an aid to the

ability to mount an effective defense to the charges. As the Supreme court of Massachusetts

pointed out: Because a defendants liberty, a fundamental right, is at stake at a bail hearing, the

principles of procedural due process in article 12 of the Massachusetts Declaration of rights are

implicated. They include the right to be heard, which necessarily includes the right to be heard

by counsel... Neither a bail hearing nor a preventative detention hearing may proceed unless the

defendant is represented by counsel.

       25) Court to conduct hearing upon request: Knapp V. State, 223 Ga. App.267, 477 S.E.

2d 621, 623, (1996) (court's discretion does not extend to refusing defendants request to hold

bond hearing.

       In your courtroom you refuse to allow meaningful evidence or testimony to be provided

(as seen with how you refused to let me call a witness to the stand, or your refusal to seek this

very information I'm asking for now). Your should at the least pretend to show you care about

the government breaking the law and their code of ethics to my detriment.

       26) United States V. Gomez, 81 F.3d 846, 854 (9th Cir. 1996) (defendants conviction for
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firearms possession overturned because of evidentiary rulings)

       You are being reckless by continually denying evidentiary hearings. I would prefer to

save the courts time, the tax payers money (and time since I'm going with a jury trial), and my

time. I'd like to only have trial once, and for it to be a fair one at that. However, your're being so

reckless and have been and currently been giving me so much to appeal in the future, it's

ridiculous... Why don't you take into consideration someone besides yourself, why don't you take

into consideration the law, after all, it's kind of your job. Why don't you for once advance the

truth seeking process in an unbiased way and seek justice FOR ALL, not just against a January

6th defendant you don't like.



27) If the government is willing to lie over something they knew the facts on, the court and the

jury should be aware of this in regards to things that the government doesn't know but claims to

know. This shows malice their morals, their charecter, and their intent, this is important for a

judge and a jury to know... The only reason a judge wouldn't want to know if this happened is if

they themselves were trying to help the government knowingly, or were unknowingly biased

against the government, but you'd have to be one of the most ignorant people I've ever met if you

still don't see how your rulings and denial of relief has been biased against me and in favor of the

government.

       If you need more case law or other reasons I'll be happy to provide them to you, but I

think my point is pretty clear for both you and an appellate court. Please make the right choice

and look into this matter... Understand why I'm getting angry about this... These lies destroyed

my life and were the building blocks for what became the biggest inhibitor of my defense, being

put on conditions that this court somehow felt that I wouldn't follow and then revoked me on...
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I've been made to look like a crazy fool to the world, yes the world because what the government

shared in this hearing not only effected me in the areas I mentioned, but with national and world

news making articles about these lies.



Dated: February 27, 2023                             Respectfully submitted,



                                                     /s/ Brandon Fellows
                                                     pro se


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